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No: 1;01{¥10004~01-T

USA V» JOSHUA HOLLINGSWORTH

A]) Prosequendum

FOR: Re-Sentencing Hearing
TO: USM, Western District of TN

Warden, NoRTHwEsT coRREcTIoNAL conPLEX
960 sTATE RoAD, TIPToNvtLLE, TN 38079

 

YOU ARE HEREBY COMMANDED to have the person of

#19364-076

Joshua Hollin,qsworth , Illmate # TOMIS _ 00301265

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by you restrained of his/her liberty, as it is said, by Whatsoever names detained, together With the
day and cause of his being taken and detained, before the Honorable James D. Todd, U. S.
District Court Judge, for the Western District of Tennessee, at the room of said Court, in the City

01` Jackson, Tennessee, at 3=30 a.m. on the 26th day of S€Pt€mb€r , 20 05

 

then and there to do, submit to, and receive Whatsoever the said Judge shall then and there
determine in that behalf; and have you then and there this Writ; further, to hold hirn in federal

custody until disposition of this case and to produce him for such other appearances as this court

may direct. M 5 z : ¢
ENTERED THIS z 3 DAY OF %\,MZOD&S .
JAM . TODD

UNI D STATES DISTRICT JUDGE

Thls document entered on the docket sheet In mp¥tence
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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:04-CR-10004 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

